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                               UNITED STATES BANKRUPTCY COIJRT
                                FOR TIIE DISTRICT OF DELAWARE

                                                              Chapter 1l

NEENAH ENTERPRISES, INC., et 4[-                              Case   No.   10-1 0360   (MFlVl

                                                              Joint Administered
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              ORDER PURSUAI\T TO 11 U.S.C. $ 1121(d) EXTENDING
         THE EXCLUSTYE PERIODS WITHIN WHICH TI{E DEBTORS MAY
   FILE A PLAN OF'REORGANIZATION AND SOLICIT ACCEPTANCES THEREOF'

                   Upon the Motionz of the above-captioned Debtors for entry of an order pursuant

to section I121(d) of the Bankruptcy Code extending the Exclusive Periods; and upon

consideration of the Motion and all pleadings relating thereto; and the Court finding that (a)                      it

has   jurisdiction over the matters raised in the Motion pursuant to 28 U.S.C. $$ 157 and 1334, (b)

this is a core proceeding pursuant to 28 U.S.C. $ 157(bX2), and (c) proper notice of the Motion

and the hearing thereon has been given and that no other or further notice is necessary and                    it

appearing that the relief requested therein is in the best interest of the Debtors, their estates and

creditors, and other parties in interest; and after due deliberation, and good and sufficient cause

appearing therefor, it is hereby

                   ORDERED, that the Motion is granted; and it is further




' The Debtors in these chapter I I cases, along with the last four digits of each Debtor's federal tax identification
number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry Company (0331); Cast
Alloys, Inc. (1223); Neenah Transport, Inc. (8433); Advanced Cast Products, Inc. (7691); Gregg Industries, Inc.
(866a); Mercer Forge Corporation (l7l l); Deeter Foundty, Inc. (51a8); Dalton Corporation (9770); Belcher
Corporation (3 193); Peerless Corporation (4462); A&M Specialties, Inc. (1756); Dalton Corporation, Warsaw
Manufacturing Facility (4775); Dalton Corporation, Ashland Manufacturing Facility (3079); Dalton Corporation,
I(endallville Manufacturing Facility (777); Dalton Corporation, Stryker Machining Facility Co. (3080); and
Morgan's Welding, Inc. (1300). The mailing address for each Debtor is212l Brooks Avenue, Neenah, W\ 54957.
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  Capitalizedterms used but not defined herein shall have the meaning ascribed to such terms in the Motion.



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                    ORDERED, that the Exclusive Filing Period in these chapter 11 cases is hereby

extended through and including October 1, 2010; and        it is further

                    ORDERED, that the Exclusive Solicitation Period in these chapter 11 cases is

hereby edended through and including December I,2010; and             it is firrther

                    ORDERED, that the entry of this order shall be without prejudice to the Debtors'

right to request further extensions of the Exclusive Periods; and it is further

                    ORDERED, that this Court shall retain jurisdiction to hear and determine all

matters arising from or related to the implementation or interpretation of this order.


Dated: Wilmington, Delaware
       June 3 ,2010


                                                                             F. Walrath
                                                         United States Bankruptcy Judge




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